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              EXHIBIT L
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                     Declaration of Solanyer Michell Sarabia Gonzalez

I, Solanyer Michell Sarabia Gonzalez, do hereby declare the following under penalty of perjury:

   1. I am 25 years old and live in Arlington, Texas. My brother, Anyelo Jose Sarabia, is 19
      years old. We are both nationals from Venezuela.

   2. I believe that United States removed my brother to El Salvador on or about March 15,
      2025, under the false pretense that he was a member of Tren de Aragua (“TdA”).

   3. Anyelo and I left Venezuela and entered the United States on November 22, 2023. We
      applied for asylum within one year of entering the country.

   4. My brother has an immigration court date for his asylum application on May 20, 2025.
      To my knowledge, he had no removal order.

   5. On or about January 31, 2025, Anyelo and I went to an ICE check-in appointment in
      Dallas, Texas. After meeting with officers, I was allowed to leave, but my brother was
      detained. I requested the reasons for his detention. The officers asked me whether my
      brother belonged to a gang and about a tattoo that is visible on his hand.

   6. My brother is not part, or was never part, of any gang. The tattoo on his left hand is of a
      rose with money as petals. A picture of the tattoo is below. He had that tattoo done in
      August 2024 in Arlington, Texas, because he thought it looked cool. The tattoo has no
      meaning or connection to any gang.




   7. My brother also has two other tattoos: 1) “fuerza y valiente” (strength and courage) on
       his bicep; and 2) a bible verse: “todo lo puedo en cristo que me fortalece” (I can do all
       things through Christ who strengthens) on his forearm. ,GLGERWKRIWKHVHWDWWRRVZKHQ
       P\EURWKHUZDVLQ7H[DVThese tattoos have no meaningor connection to any gang.
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8. My brother has no criminal record in either Venezuela or in the United States.

9. After being detained, on or about March 11, 2025, my brother was transferred from
   Bluebonnet Detention Facility in TX to the Rio Grande Processing Center in Laredo, TX.

10. I last spoke to him on March 14, 2025, and believe he was removed to El Salvador
    shortly after that, because I have not heard from him since then and I can no longer find
    him on the ICE Detainee Locator. If he were detained anywhere in the United States, I
    know he would contact me because we spoke almost daily while he was detained. If he
    were back in Venezuela, I would hear from him as well. I am extremely concerned about
    the health and safety of my little brother.



                                               Sworn
                                                  rn on this
                                                          iiss 19th day
                                                                    d of March 2025




                                               Solanyer Mi
                                                        Michell
                                                           h ll Sarabia
                                                                S       Gonzalez
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                             CERTIFICATE OF TRANSLATION

       I, Talia Roma, certify that I am fluent in both English and Spanish. On March 19, 2025, I

personally spoke with Solanyer Michell Sarabia Gonzalez and read the foregoing declaration to

her, translated into Spanish faithfully and accurately, over the phone. Ms. Sarabia affirmed that

she understood my translation and that the information in the above declaration is true and

accurate.

       I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true

and correct.




_______________________________
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                  _ __
                     _ ____
Talia Roma
Paralegal
American Civil Liberties Union Foundation
Immigrants’ Rights Project
425 California Street, 7th Floor
San Francisco, CA 94609
(415) 343-0770
troma@aclu.org
